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                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    DEMAS YAN,                                         Case No.11-cv-01814-RS (JSC)
                                                       Appellant,
                                   8
                                                                                           ORDER TO SHOW CAUSE TO
                                                v.                                         DEMAS YAN
                                   9

                                  10    TONY FU, et al.,
                                                       Appellees.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Ninth Circuit awarded sanction to Appellees and against Appellant Demas Yan in the

                                  14   amount of $35,004.71. Mr. Yan refused to pay the sanctions. An abstract of judgment was filed

                                  15   on March 11, 2016. Mr. Yan still refused to pay the sanctions. A debtor’s exam was held on June

                                  16   27, 2017; however, Mr. Yan failed to bring the subpoenaed documents. The Court therefore

                                  17   terminated the exam and ordered Mr. Yan to produce the subpoenaed documents to Appellees.

                                  18   According to Appellees, he has failed to do so. (Dkt. No. 50.)

                                  19          Accordingly, the Court orders Demas Yan to show cause why he should not be held in

                                  20   contempt for failing to produce the subpoenaed documents. Mr. Yan’s written response must be

                                  21   filed on or before July 31, 2017. Appellees’ response, if any, shall be filed by August 4, 2017.

                                  22   The Court will hold a show cause hearing on August 10, 2017 at 9:00 a.m. Mr. Yan shall appear

                                  23   in person.

                                  24          This Order terminates docket no. 50.

                                  25          IT IS SO ORDERED.

                                  26   Dated: July 24, 2017

                                  27
                                                                                                    JACQUELINE SCOTT CORLEY
                                  28                                                                United States Magistrate Judge
                                           Case 3:11-cv-01814-RS Document 52 Filed 07/24/17 Page 2 of 2




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        YAN,
                                   7                                                          Case No. 11-cv-01814-RS (JSC)
                                                       Plaintiff,
                                   8
                                                v.                                            CERTIFICATE OF SERVICE
                                   9
                                        FU,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California




                                               I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.
 United States District Court




                                  13
                                       District Court, Northern District of California.
                                  14
                                               That on July 24, 2017, I SERVED a true and correct copy(ies) of the attached, by placing
                                  15
                                       said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
                                  16
                                       depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
                                  17
                                       receptacle located in the Clerk's office.
                                  18
                                  19   Demas Yan
                                       595 Market Street, Suite 1350
                                  20   San Francisco, CA 94105
                                  21   Demas Wai Yan
                                       100 Pine Street #1250
                                  22   San Francisco, CA 94111

                                  23

                                  24   Dated: July 24, 2017
                                                                                          Susan Y. Soong
                                  25                                                      Clerk, United States District Court
                                  26
                                                                                          By:________________________
                                  27
                                                                                          Ada Means, Deputy Clerk to the
                                  28                                                      Honorable JACQUELINE SCOTT CORLEY

                                                                                          2
